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AO 199A (Rev. 06/19) Order Setting Conditions of Release Page | of 4 Pages

UNITED STATES DISTRICT COURT

for the
District of Columbia
United States of America )
Y: )
Carlos Alberto Ayala ) Case No. 24-mj-0004
)
Defendant )

ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant’s release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that

the court may impose.
The defendant must appear at; _ US District Court for the District of Columbia 333 Constitution Ave NW WDC

Place
before US District Court Duty Magistrate Judge (reporting or call-in instructions to be provided)

on 2/8/2024 1:00 pm

Date and Time

If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.
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ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
appearance of the person as required and the safety of any other person and the community.

IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

(CO) (6) The defendant is placed in the custody of:
Person or organization

Address (only if above is an organization)

City and state Tel. No.

who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.

Signed:

Custodian Date
(I7]) (7) The defendant must:
(MH) (a) submit to supervision by and report for supervision to the District of Maryland/Baitimore (Courtesy Supervision}(As Directed) ,
telephone number (440} 962-4740 . ho later than
(7) (b) continue or actively seek employment.
(LZ) (c) continue or start an education program,
(4) (4) surrender any passport to: District of Maryland/Baltimore

(LQ) €) not obtain a passport or other international travel document.

(YZ) (f) abide by the following restrictions on personal association, residence, or travel: Defendant to notify PSA in the District of Maryland/Baltimore
in advance of all travel outside of that jurisdiction. Court to approve all other travel outside of the Continental United States.

(LZ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including:

(J) ) get medical or psychiatric treatment:

(C2) @) retum to custody each at o'clock after being released at o’clock for employment, schooling,
or the following purposes:

(D2) (j) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
necessary.

({¥]}) (k) not possess a firearm, destructive device, or other weapon.

(LE) @ notuse alcohol ( [J )atalt( [7] ) excessively.

(CL) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
medical practitioner.

(OQ) () submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
random frequency and may include urine (esting, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
of prohibited substance screening or testing.

(CJ) (©) participate in a program of inpaticnt or outpatient substance abuse therapy and counseling if directed by the pretrial services office or

supervising officer.
(LZ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
(J) @) Curfew. You are restricted to your residence every day (_ [[]) from to ,or (())as

directed by the pretrial services office or supervising officer; or

(C0) (ii) Home Detention, You are restricted to your residence at all times except for employment; education; religious services;
medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
activities approved in advance by the pretrial services office or supervising officer; or

(2) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court; or

(D) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
you must comply with the location or travel restrictions as imposed by the court.
Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technology.
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S.C

ADDITIONAL CONDITIONS OF RELEASE

(2) (q) submit to the following location monitoring technology and comply with its requirements as directed:

(OD)
(1) ©)
(1) w

(J) (i) Location monitoring technology as directed by the pretrial services or supervising officer; or

(LJ ) (ii) Voice Recognition; or

(1) Gii) Radio Frequency; or

(CJ) (iv) GPs.

pay all or part of the cost of location monitoring based upon your ability to pay as determined by the pretrial services or supervising
officer.

report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
questioning, or traffic stops.

Stoy out of D.C. except for Court or PSA business or to moal with Counsel.

Verify your address with Pretrial Servicos Agancy (PSA) immadiatoly or by the noxt business day.

The defendant must store afl of his firearms in his collection in a firearm safe located at the defendant's residence. The defendant's

spouse will have the new combination to the safe and should not be shared with the defendant.
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AO 199C (Rev. 09/08) Advice of Penalties Page 4 of 4 _ Pages
ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (/.¢., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

| acknowledge that | am the defendant in this case and that | am aware of the conditions of release. | promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. | am aware of the penalties and sanctions set forth above.

As sworn to on record

Defendant's Signature

City and State

Directions to the United States Marshal

(><) The defendant is ORDERED released after processing.
t 4 The United States marshal is ORDERED to keep the defendant in cu
has posted bond and/or complied with all other conditions for releas
the appropriate judge at the time and place specified.

dy until notified by the clerk or judge that the defendant

aie: 1/9/2024 Vy

Ee ’ 1+
idiciahGfficer 's Signature

Ay aol Lf, VVE
Printed nameéand title f

DISTRIBUTION: COURT DEFENDANT PRETRIAL SERVICE U.S. ATTORNEY U.S. MARSHAL

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AO 98 (Rev. 12/11) Appearance Bond

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America )
v. )
CARLOS ALBERTO AYALA Case No. 24-MJ-04
Defendant )
APPEARANCE BOND

Defendant’s Agreement

l, CARLOS ALBERTO AYALA (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:

( X ) to appear for court proceedings;

( X ) __ ifconvicted, to surrender to serve a sentence that the court may impose; or
( X )  tocomply with all conditions set forth in the Order Setting Conditions of Release.

Type of Bond
( X ) (1) This is a personal recognizance bond.
(__) (2) This is an unsecured bond of $
( _) @) This is a secured bond of $ , secured by:
( )@s$ , in cash deposited with the court.

(__) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
(describe the cash or other property, including claims on it — such as a lien, mortgage, or loan — and attach proof of
ownership and vaiite):

If this bond is secured by real property, documents to protect the secured interest may be filed of record.

(  ) ©) abail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):

Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
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AO 98 (Rev. 12/11) Appearance Bond

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

Declarations

Ownership of the Property. 1, the defendant — and each surety — declare under penalty of perjury that:

(1) all owners of the property securing this appearance bond are included on the bond;
(2) the property is not subject to claims, except as described above; and
(3) | will not sell the property, allow further claims to be made against it, or do anything to reduce its value

while this appearance bond is in effect.

Acceptance. 1, the defendant — and each surety — have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond,

I, the defendant — and each surety — declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)

Date; — 01/09/2024 —

ny he a
Defendant's signature

Surety/property owner — printed name Suretwproperty owner — signature and date

Surety/property owner — signature and date

Surety/property owner — printed name

Surety/property owner — printed name Surety/property owner — signature and date

CLERK OF COURT Brittany Digitally signed
by Brittany
Bryant Bryant

Date: 01/09/2024

Signature of Clerk or Deputy Clerk

the ia Digitally
Approved, (Ai signed by G.
d

Date: 01/09/2024 Michael Harvey

Judge 's signature
